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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                  CHARLESTON DIVISION


KEITH I. GLENN,

                              Petitioner,

v.                                                   CIVIL ACTION NO. 2:16-cv-01369
                                                     (Criminal No. 2:13-cr-00091-5)

UNITED STATES OF AMERICA,

                              Respondent.


                         MEMORANDUM OPINION AND ORDER


       Pending before the Court is Petitioner Keith I. Glenn’s Motion to Withdraw Motion Under

Title 28 U.S.C. § 2255. (ECF No. 864.) On February 9, 2016, this action was referred to United

States Magistrate Judge Omar J. Aboulhosn for submission of proposed findings of fact and

recommendations for disposition (“PF&R”). (ECF No. 791.) Magistrate Judge Aboulhosn filed

his PF&R on April 19, 2017, recommending that this Court grant the pending motion and dismiss

Petitioner’s § 2255 motion. (ECF No. 865.)

       The Court is not required to review, under a de novo or any other standard, the factual or

legal conclusions of the magistrate judge as to those portions of the findings or recommendation

to which no objections are addressed. Thomas v. Arn, 474 U.S. 140, 150 (1985). Failure to file

timely objections constitutes a waiver of de novo review and a party’s right to appeal this Court’s

Order. 28 U.S.C. § 636(b)(1); see also Snyder v. Ridenour, 889 F.2d 1363, 1366 (4th Cir. 1989);

United States v. Schronce, 727 F.2d 91, 94 (4th Cir. 1984).
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         Objections to the PF&R in this case were due on May 8, 2017. To date, no objections

have been filed. 1 The Court therefore ADOPTS the PF&R, (ECF No. 865), GRANTS the

Motion to Withdraw Motion Under Title 28 U.S.C. § 2255, (ECF No. 864), and DISMISSES

Petitioner’s § 2255 motion, (ECF No. 789). The Court further DIRECTS the Clerk to remove

this case from the docket of the Court.

         IT IS SO ORDERED.

         The Court DIRECTS the Clerk to send a copy of this Order to counsel of record and any

unrepresented party.

                                                     ENTER:            May 24, 2017




1
  The Court notes that Petitioner filed a subsequent motion under 28 U.S.C. § 2255 on May 5, 2017. (No. 2:17-cv-
2740, ECF No. 867.) While the motion was filed within the objections period, it does not contest anything in the
PF&R. The motion was docketed as a new habeas case, and it mentions that there was a pending petition in front of
this Court that was voluntarily withdrawn on April 20, 2017. (See id. at 1.) This is further evidence that Petitioner
did not intend for his new motion to be understood as objecting to Magistrate Judge Aboulhosn’s PF&R. Thus, the
Court will not construe it as such.
